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8                               UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11   MARK G.1, an Individual,                     Case No.: 2:20-05251 ADS

12                       Plaintiff,

13                       v.
                                                  JUDGMENT OF DISMISSAL
14   KILOLO   KIJAKAZI2, Acting
     Commissioner of Social Security,
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                         Defendant.
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21   1 Plaintiff’s name has been partially redacted in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
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     Administration and Case Management of the Judicial Conference of the United States.
     2 The Complaint, and thus the docket caption, do not name the current Acting
23
     Commissioner. On July 9, 2021, Kijakazi became the Acting Commissioner of Social
     Security. Thus, he is automatically substituted as the defendant under Federal Rule of
24
     Civil Procedure 25(d).


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     Case 2:20-cv-05251-ADS Document 24 Filed 10/26/21 Page 2 of 2 Page ID #:1858




 1          In accordance with the Memorandum Opinion and Order, Dkt. No. 23, filed

 2   concurrently herewith,

 3          IT IS ORDERED AND ADJUDGED that the decision of the Commissioner of

 4   Social Security is affirmed, and this action is dismissed with prejudice.

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 6   DATE: October 26, 2021

 7
                                              /s/ Autumn D. Spaeth
8                                       THE HONORABLE AUTUMN D. SPAETH
                                        United States Magistrate Judge
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